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                 IN THE UNITED STATES DISTRICT COURT
        FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

DAVID BOSWELL, JR.,                           )
                                              )
                       Plaintiff,             )
                                              )
               v.                             )      Case No. 16 CV 9070
                                              )
BRYAN SULLIVAN, et al.                        )      The Hon. John Robert Blakey
                                              )
                       Defendants.            )

           NOTICE OF SUBSTITUTION OF COUNSEL WITHIN SAME FIRM

       Undersigned counsel submits the following substitution of counsel for Defendant

BRYAN SULLIVAN pursuant to Local Rule 83.17, which allows substitutions of counsel

without motion where counsel are of the same firm. Assistant Attorney General Megan

Honingford will no longer represent this defendant and is hereby withdrawing as counsel.


                                                     Respectfully submitted,

LISA MADIGAN                                         s/ Colleen M. Shannon
Attorney General for Illinois                        COLLEEN SHANNON
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                                                     Attorney for Defendant



                                    CERTIFICATE OF SERVICE

        The undersigned certifies that on December 7, 2017, the foregoing document was
electronically filed with the Clerk of the Court for the United States District Court, Northern
District of Illinois using the CM/ECF system. Participants in the case who are registered
CM/ECF users will be served by the CM/ECF system.

                                                     s/ Colleen M. Shannon
